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Fl|ED BY _,, D_Q_
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL 28 AH l l .. 27
WESTERN DrvlsroN '
leHK, U.S. _UiSlRlCT U}H'|'
UNITED sTATES oF AMERICA WKD OF art meals
V. 05-20242-Ml
GENO BROWNLEE
ORDER ON ARRAIGNMENT
This cause came to be heard on O'l .¢5) l - 05 , the United States Attomey

 

for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME perfume Cuaemw\./ who is Retaiued/Appoimed.

The defendant, through counsel, waived formal arraignment and entered a plea ofnot guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

§§W,t@j_

UNITED sTATES `MAGISTRATE IUDGE

 

CHARGES: 18:922(g);

U. S. Attorney assigned to Case: S. Hall

Age: 339

heet in comp_qucg

 
 

UNITED sTATE ISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

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This notice confirms a copy of the document docketed as number l3 in
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Honorable J on McCalla
US DISTRICT COURT

